Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 1 of 15

 

AO 106 (Rev. 04/10) Application for a Search Warrant Fi

~__ RECEIVED
MAR 08 2019

   
  

 

UNITED STATES DISTRICT COUR

 

 

for the
‘ctrl i CLERK U.S. DISTRICT COURT
Western District of Washington WESTERN DISTRICT OF WASHINGTON AT TACOMA
By DEPUTY
In the Matter of the Search of )
(Briefly describe the pro, to b hed
or De the person be nine and address) } Case No. VY J | q :
Facebook account 100008553699617, -~SO S S
with the user name “Yoboi Ed,” ) .

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

Prange dg pesearoned and Bye tS (6868453609617, with the user name “Yoboi Ed,” as further described in Attachment A,
which is attached hereto and incorporated herein by this reference. ,

located in the Northern District of California , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B, which is attached hereto and incorporated herein by this reference.

The basis for the search under Fed. .R. Crim. P. 41(c) is (check one or more):
0 evidence of a crime;
O contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
Ma person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:

Code Section Offense Description
Title 18, U.S.C. §§ 3585, 3142 Supervised Release Violation

The application is based on these facts:
See attached Affidavit

rf Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Co a ZH
Applicant’s signature

Kevin Grier, US Marshal
Printed name and title

Sworn to before me and signed in my presence.

Date: 03/08/2019 < Ky dA lo
ha Judge's sfgnature R -
Ct '
City and state: Tacoma, Washington .S. Magistrate judge BRS LARK Pen tube

Printed name and title

2018R01188
Oo fo nN DA U FF WH NO

NR wO NN NY NH ND YN NO | we ew re Re SR
Oo ~~ DH OU BR WHO LH = GS OO Co TIA UU F&F W NH — &

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 2 of 15

ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the Facebook user ID

100008553699617, stored at premises owned, maintained; controlled, or operated by

Facebook, a company headquartered in Menlo Park, California.

AFFIDAVIT OF DUSM GRIER
ATTACHMENT A - |

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
wo co nN DH A FF W NHN

DO BRD RD wk et
Ny &§ © 6 OIA UH FF WN KK S&S

23
24
25
26
27
28

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 3 of 15

ATTACHMENT B
Particular Things to be Seized
LF Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook shall disclose
the following information to the government for the user ID listed in Attachment A:

(a) All contact and personal identifying information, including full name, user
identification number, birth date, gender, contact e-mail addresses, Facebook passwords,
Facebook security questions and answers, physical address (including city, state, and zip
code), telephone numbers, screen names, websites, and other personal identifiers;

(b) All activity logs for the account and all other documents showing the user’s
posts and other Facebook activities;

(c) All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them;

(d) _Alll profile information; News Feed information; status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings; Friend lists,
including the Friends’ Facebook user identification numbers; groups and networks of
which the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments; gifts;
| pokes; tags; and information about the user’s access and use of Facebook applications;

(e) All other records of communications and messages made or received by the
user, including all private messages, chat history, video calling history, and pending
“Friend” requests;

(f) All “check ins” and other location information;

(g) AIL IP logs, including all records of the IP addresses that logged into the

 

 

account; .
AFFIDAVIT OF DUSM GRIER UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
ATTACHMENT B -1 SEATTLE, WASHINGTON 98101

(206) 553-7970
Oo 62 JI A HN Ff W NY

DR ND DO RD ett

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 4 of 15

(h) All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user has “liked”;

(i) All information about the Facebook pages that the account is or was a “fan”
of

(j) All past and present lists of friends created by the account;

(k) All records of Facebook searches performed by the account;

(1) All information about the user’s access and use of Facebook Marketplace;

(m) The types of service utilized by the user; .

(n) The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account number);

(0) All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account;

(p) All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including contacts with support
services and records of actions taken.

(q) All historical physical location data (to include GPS, Latitude, Longitude,
or other location data by whatever mechanism or terminology) collected and stored by
Facebook location services via the user’s mobile phone or other device.

Il. Information to be seized by the government

The following information described above in Section I that relates to the ongoing
fugitive investigation involving Edward Gentry, for the user ID identified on
Attachment A:

(a) Any content including e-mails, messages, texts, photographs, visual
images, documents, spreadsheets, address lists, contact lists or communications of any

type that identify the user, and his or her location at any time since December 25%, 2018;

AFFIDAVIT OF DUSM GRIER UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

ATTACHMENT B -2 SEATTLE, WASHINGTON 98101
(206) 553-7970
Co we ny DH HH F&F WO NHN

NM Nw KH NH BR DN HNO rR
DN tr BP WD HO KK SG OO ON HDA NW, SF W NY - &

27
28

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 5 of 15

(b) Allrecords relating to who created and used the user ID, and all records
identifying any person with whom the user has been in contact at any time since
December 25, 2018.

(c) All subscriber records associated with the specified account, including
name, address, local and long distance telephone connection records, records of session
times and durations, length of service (including start date) and types of service utilized,
telephone or instrument number or other subscriber number or identity, including any
temporarily assigned network address, and means and source of payment for such service
including any credit card or bank account number.

(d) Any and all other log records, including IP address captures, associated
with the specified account.

(e) Any records of communications between Facebook and any person about
issues relating to the account, such as technical problems, billing inquiries, or complaints
from other users about the specified account. This to include records of contacts between
the subscriber and the provider's support services, as well as records of any actions taken
by the provider or subscriber as a result of the communications.

| (f) All historical physical location data (to include GPS, Latitude, Longitude,

or other location data by whatever mechanism or terminology) collected and stored by

 

 

Facebook location services via the user’s mobile phone or other device since December
25, 2018.
ll
AFFIDAVIT OF DUSM GRIER UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
ATTACHMENT B -3 SEATTLE, WASHINGTON 98101

(206) $53-7970
Oo on ND HR BP W YN

Se NM NH PDP HD LH DN DO NR Re
oN ON ON BR DH NY KH DO ODO OND A FP WD NY — &

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 6 of 15

AFFIDAVIT OF KEVIN GRIER
STATE OF WASHINGTON )
) SS
COUNTY OF KING )

I, Kevin Grier, having been duly sworn, state as follows:
INTRODUCTION AND AGENT BACKGROUND
1. I make this affidavit in support of an application for certain information
associated with Facebook account 100008553699617, with the user name “Yoboi Ed,”

stored at premises owned, maintained, controlled, or operated by Facebook, a social

 

networking company headquartered in Menlo Park, California. The information to be
searched is described in the following paragraphs and in Attachment A. This affidavit is
made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
2703(b)(1)(A) and 2703(c)(1)(A) to require Facebook to disclose to the government
copies of the information, including the content of communications, further described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate the
items described in Section II of Attachment B.

2. I am a Deputy United States Marshal and have been employed by the
United States Marshals Service (USMS) for nine years. In 2014, I was assigned to the
USMS-sponsored Western District of Washington Violent Offender Task Force. I
operate out of the United States Courthouse in Seattle, Washington. My training has
included attending the Criminal Investigators Training Program at the Federal Law
Enforcement Training Center, as well as Basic Deputy United States Marshal Training in
Glynco, Georgia. I have also completed High Risk Fugitive Apprehension (HRFA)
training in Los Angeles, CA. I have been the case agent for numerous fugitive cases. I
have used various methods to conduct in-depth investigations to locate fugitives. I have

received training and experience involving criminal investigations and electronic

; | surveillance.

AFFIDAVIT OF DUSM GRIER - 1 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
NRO BD NB NK HNO Ow Oe et et

0 ODA WF WN

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 7 of 15

3. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. This affidavit
is intended to set forth the facts relevant to the determination of probable cause for the
requested warrant, and does not set forth all of my knowledge about this matter.

4, Based on my training and experience and the facts set forth in this affidavit,
I believe there is probable cause to search the information described in Attachment A for
evidence of Edward Gentry’s location.

THE INVESTIGATION

5. In September 2008, Edward GENTRY was convicted of and sentenced for
Sex Trafficking of Children by Force, Fraud, or Coercion, in violation of 18 U.S.C. §
1591(a)(1), in the Eastern District of California. As part of the sentence, GENTRY was
ordered to serve 108 months in prison and 96 months of supervised release. His
supervised release conditions included prohibition on possession of a firearm and
registering as a sex offender according the applicable federal and state laws. By virtue of
his conviction, GENTRY became a sex offender, is required to register as such, and
update his registration within three business days of any change in his residence.

6. In April 2015, following GENTRY’s release from custody, his supervised
release was transferred to the Western District of Washington. Since then, he has had
numerous supervised release violations, including violations related to controlled
substances.

7. On November 29, 2018, the Honorable Benjamin H. Settle, Western
District of Washington, issued an arrest warrant for GENTRY following repeated
violations related to substance abuse and failure to attend treatment. On December 10,
2018, GENTRY was arrested. He was released on the same day on location monitoring.

8. On December 25, 2018, GENTRY cut off his ankle bracelet for location
monitoring and absconded. The Honorable Theresa L. Fricke, Western District of
Washington, issued an arrest warrant for GENTRY on the same day.

AFFIDAVIT OF DUSM GRIER - 2 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
oOo on BDA OH FP WYO HN

NO bw NH HB NY YD KN HN HN we rm ee me eet
Oo nD A UM BR DH NH = CO OO OANA ON BP WH NH KY S&S

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 8 of 15

9. Since then, the United States Marshals Service (USMS) has been diligently

‘searching for GENTRY but without success. Gentry has not surrendered himself on the

outstanding warrant and has made no attempt to contact law enforcement to take steps
toward self-surrendering.

10. During the period of GENTRY’s abscondment, two potential criminal
incidents involving GENTRY have been reported. First, on January 8, 2019, the King
County Sheriffs Office (KCSO) received a complaint that GENTRY had pulled a gun on
his acquaintance following an argument. According to the police report I reviewed,
GENTRY visited the acquaintance’s apartment in Burien and asked her to let him stay in
her apartment. When the acquaintance refused, an argument ensued, during which
GENTRY pulled a gun on her. GENTRY subsequently tackled the acquaintance into the
ground and punched the acquaintance’s roommate in the face.

11. Second, on February 28, 2019, the Seattle Police Department received a
complaint that GENTRY had assaulted his domestic partner. According to the police
report I reviewed, GENTRY, among other things, punched and kicked his domestic
partner at least 30 times, smashed her head on the TV, and strangled her with both hands
to the point where she lost consciousness. According to staff at the Swedish — Cherry Hill
hospital, the victim sustained a broken nose and broken rib.

12. In addition, GENTRY has not updated his sex offender registration since
December 25, 2018, even though he no longer resides at the address under which he was
previously registered. Under 18 U.S.C. § 2250(a), it is a federal felony for a person who
is required to register as a sex offender and is a sex offender by reason of a conviction
under Federal law, including a conviction for violating 18 U.S.C. § 1591, to knowingly
fail to update his registration.

13. As part of my attempt to locate GENTRY, I searched for GENTRY on
Facebook. I located a Facebook page belonging to Facebook account with the profile
name “Yoboi Ed,” Facebook Identification Number: 100008553699617 (hereinafter

“Target Facebook Account”). I compared GENTRY’s driver’s license and booking

AFFIDAVIT OF DUSM GRIER - 3 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220 _
SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo co ~~ HD A S&F Ww N

DRO Reem eet
BNRERERBRBRSSerdABEERE S

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 9 of 15

photos with photos on the Target Facebook Account and positively identified them as a
match.

14. Review of the profile indicates user activity as recently as March 6, 2019.

15. Based on my training and experience, I believe that information contained
in GENTRY’s Facebook account will assist me in locating and apprehending GENTRY.
For example, internet protocol (IP) addresses that GENTRY has used to access the
account may be used to determine GENTRY’s physical location. Communications
between GENTRY and others contained in the account may identify locations at which
GENTRY has been and/or is planning to be, and may help identify persons with whom
GENTRY is in contact, who may have knowledge of his whereabouts. Additionally,
photographs contained in the account may depict places that GENTRY has been, and
may be used to identify persons with whom Gentry has been in contact, who may have
knowledge of his whereabouts.

FACEBOOK SOCIAL NETWORKING SERVICES

16. | Facebook owns and operates a free-access social networking website of the

 

same name that can be accessed at http:/Awww.facebook.com. Facebook allows its users
to establish accounts with Facebook, and users can then use their accounts to share
written news, photographs, videos, and other information with other Facebook users, and,
sometimes, with the general public.

17. Facebook asks users to provide basic contact and personal identifying
information, either during the registration process or thereafter. This information includes
the user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords,
Facebook security questions and answers (for password retrieval), physical address
(including city, state, and zip code), telephone numbers, screen names, websites, and
other personal identifiers. Facebook also assigns a user identification number to each
account.

18. Facebook users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Facebook

AFFIDAVIT OF DUSM GRIER - 4 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo fe ITI HD A FP WY

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 10 of 15

assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that user’s
“Friends” and a “News F eed,” which highlights information about the user’s “Friends,”
such as profile changes, upcoming events, and birthdays.

19. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By adjusting
these privacy settings, a Facebook user can make information available only to himself or
herself, to particular Facebook users, or to anyone with access to the Internet, including
people who are not Facebook users. A Facebook user can also create “lists” of Facebook
|| friends to facilitate the application of these privacy settings. Facebook accounts also
include other account settings that users can adjust to control, for example, the types of
notifications they receive from Facebook.

20. Facebook users can create profiles that include photographs, lists of
personal interests, and other information. Facebook users can post “status” updates about
their whereabouts and actions, as well as links to videos, photographs, articles, and other
items available elsewhere on the Internet. Facebook users can also post information about
upcoming “events,” such as social occasions, by listing the events’ time, location, host,
and guest list. In addition, Facebook users can “check in” to particular locations or add
their geographic locations to their Facebook posts, thereby revealing their geographic
locations at particular dates and times. A user’s profile page also includes a “Wall,”
which is a space where the user and his or her “Friends” can post messages, attachments,
and links that typically are visible to anyone who can view the user’s profile.

21. Facebook allows users to upload photos and videos. It also provides users

the ability to “tag” (.e., label) other Facebook users in a photo or video. When a user is

 

 

tagged in a photo or video, he or she receives a notification of the tag and a link to see the

AFFIDAVIT OF DUSM GRIER - 5 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
0 OWA HW F&F WN &

NB Bw NO RO RD ee et

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 11 of 15

photo or video. For Facebook’s purposes, the photos and videos associated with a user’s
account will include all photos and videos uploaded by that user that have not been
deleted, as well as all photos and videos uploaded by any user that have that user tagged
in them.

22. Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient’s
Facebook “Inbox,” which also stores copies of messages sent by the recipient, as well as
other information. Facebook users can also post comments on the Facebook profiles of
other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a Video
Calling feature, and, although Facebook does not record the calls themselves, it does keep .
records of the date of each call. : |

23. Ifa Facebook user does not want to interact with another user on Facebook,
the first user can “block” the second user from seeing his or her account.

24. Facebook has a “like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as well
as webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can
also become “fans” of particular Facebook pages.

25. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

26. Each Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present. The
activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by people

who visit the user’s Facebook page.

AFFIDAVIT OF DUSM GRIER - 6 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo eon DH OH SF WD NO

mo NH BH WH NH LH NY WD HR Om tt
oN KA AN Re WD NH YS GS Oo eH Dw BW NY KF GS

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 12 of 15

27. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

28. The Facebook Gifts feature allows users to send virtual “gifts” to their
friends that appear as icons on the recipient’s profile page. Gifts cost money to purchase,
and a personalized message can be attached to each gift. Facebook users can also send
each other “pokes,” which are free and simply result in a notification to the recipient that
he or she has been “poked” by the sender. |

29. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace.

30. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s
access or use of that application may appear on the user’s profile page.

31. Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the administrator
or head of the group, who can invite new members and reject or accept requests by users
to enter. Facebook can identify all users who are currently registered to a particular group
and can identify the administrator and/or creator of the group. Facebook uses the term
“Group Contact Info” to describe the contact information for the group’s creator and/or
administrator, as well as a PDF of the current status of the group profile page.

32. Facebook uses the term “Neoprint” to describe an expanded view of a given
user profile. The “Neoprint” for a given user can include the following information from
the user’s profile: profile contact information; News Feed information; status updates;
links to videos, photographs, articles, and other items; Notes; Wall postings; friend lists,
including the friends’ Facebook user identification numbers; groups and networks of

which the user is a member, including the groups’ Facebook group identification

-AFFIDAVIT OF DUSM GRIER - 7 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE $220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
Oo Oo YA AH BR WY =

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 13 of 15

numbers; future and past event postings; rejected “Friend” requests; comments; gifts;
pokes; tags; and information about the user’s access and use of Facebook applications.

33. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP
address on Facebook, including information about the type of action, the date and time of
the action, and the user ID and IP address associated with the action. For example, if a
user views a Facebook profile, that user’s IP log would reflect the fact that the user
viewed the profile, and would show when and from what IP address the user did so.

34. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account number).
In some cases, Facebook users may communicate directly with Facebook about issues
relating to their accounts, such as technical problems, billing inquiries, or complaints
from other users. Social networking providers like Facebook typically retain records
about such communications, including records of contacts between the user and the
provider’s support services, as well as records of any actions taken by the provider or
user as a result of the communications. |

35. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction
information, and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

36. | anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by

using the warrant to require Facebook to disclose to the government copies of the records

 

and other information, including the content of communications, particularly described in

Section I of Attachment B. Upon receipt of the information described in Section I of

AFFIDAVIT OF DUSM GRIER - 8 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo fe ST DBD A BR W NY

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:19-mj-05035-JRC Document 1 Filed 03/08/19 Page 14 of 15

Attachment B, government-authorized persons will review that information to locate the
items described in Section II of Attachment B.
REQUEST FOR NONDISCLOSURE AND SEALING

37. I request, pursuant to the preclusion-of-notice provisions of Title 18, United
States Code, Section 2705(b), that Facebook be ordered not to notify any person,
including the subscriber or customer to which the materials relate, of the existence of this
warrant for such period as the Court deems appropriate. The government submits that
such an order is justified because notification of the existence of this Order would
seriously jeopardize the ongoing investigation. Such a disclosure would give the
subscriber an opportunity to destroy change patterns of behavior and to continue his
flight from prosecution

38. I further request that the Court order that all papers in support of this
application, including the affidavit and search warrant, be sealed until further order of the
Court. These documents discuss an ongoing fugitive investigation that is neither public
nor known to the target of the investigation. Accordingly, there is good cause to seal
these documents because their premature disclosure may seriously jeopardize the
investigation by assisting the target’s continued flight from prosecution.

CONCLUSION
_ 39. Based on the forgoing, I request that the Court issue the proposed search

warrant. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
| (b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United States...
that — has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)@.
Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. Accordingly, by this Affidavit, I
seek authority for the government to search all of the items specified in Section I,
Hf

H

AFFIDAVIT OF DUSM GRIER - 9 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 

 

 
Oo fo nN DN UM Re WN

ww BH NH NH WH WY NY HY VN | | KF FF KF KF RF Ee
oD A A BR WH HO KH CO Oo OHI HD A FF WY NY —| ©

 

 

Case 3:19-mj-05035-JRC Document1 Filed 03/08/19 Page 15 of 15

Attachment B (attached hereto and incorporated by reference herein) to the Warrant, and
specifically to seize all of the data, documents and records that are identified in Section II
to that same Attachment.

ZO Ze
KEVIN GRIER

Deputy United States Marshal
United States Marshals Service

The above-named agent provided a sworn statement attesting to the truth of the contents of the

foregoing affidavit on x (%__ day of March, 2019.

“ RICHARD C URA
United States Magistrate Judge

AFFIDAVIT OF DUSM GRIER - 10 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
